          Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 1 of 12



                                   United States District Court
                                    Western District of Texas
                                        Austin Division

United States of America,
       Plaintiff,

         v.                                                   No. A-23-CR-135-RP

Saint Jovite Youngblood,
        Defendant.


                            United States’ Exhibit List for Jury Trial

Exhibit #                                 Description                              Admitted

    1         Gehrig Bat
    2         SJY Passport and Passport Card
    3         Holloway Ledger
    4         Holloway Will
    5         Holloway Notes Purse
    6         Cross
    7         Timeline Kota Safe
    8         Timeline Holloway
    9         Flag
    10        Dream Catcher
    11        SJY Birth Certificate
    12        SJY Name Change Certified Documents
    13        SJY Tax Records
    14        Lane Holloway Notebook
    15        Stipulation
    16        Book
    17        Reserved for sub-exhibit
    18        Yelp Review - Barahona - 1
    19        Yelp Review 2 - Barahona - 2
    20        May 1, 2023, Recorded Call - Perardi and Youngblood
     Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 2 of 12




21      May 1, 2023, Recorded Call - UCE Youngblood Perardi
22      May 1, 2023, Perardi Youngblood UCE Video 1
23      May 1, 2023, Youngblood Photo
24      May 1, 2023, Perardi Youngblood UCE Video 2
25      May 2, 2023, Youngblood Knecht Photo
        Reserved for sub-exhibit
26
        Reserved for sub-exhibit
27
        Reserved for sub-exhibit
28
        Reserved for sub-exhibit
29
        Reserved for sub-exhibit
30
31      May 1, 2023, UC Op Audio (Full)
32      May 1, 2023, UC Op Audio Transcript
33      May 1, 2023, UC Op Audio Clip 1
34      May 1, 2023, UC Op Audio Clip 2
35      May 1, 2023, UC Op Audio Clip 3
36      May 1, 2023, UC Op Audio Clip 4
37      May 1, 2023, UC Op Audio Clip 5
38      May 1, 2023, UC Op Audio Clip 6
39      May 1, 2023, UC Op Audio Clip 7
40      May 1, 2023, UC Op Audio Clip 8
41      May 1, 2023, UC Op Audio Clip 9
42      May 1, 2023, UC Op Audio Clip 10
43      May 1, 2023, UC Op Audio Clip 11
44      May 1, 2023, UC Op Audio Clip 12
45      May 1, 2023, UC Op Audio Clip 13
46      May 1, 2023, UC Op Audio Clip 14
47      May 1, 2023, UC Op Audio Clip 15
48      May 1, 2023, UC Op Audio Clip 16
49      May 1, 2023, UC Op Audio Clip 17
50      May 1, 2023, UC Op Audio Clip 18
     Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 3 of 12




51      May 1, 2023, UC Op Audio Clip 19
52      May 1, 2023, UC Op Audio Clip 20
53      May 1, 2023, UC Op Audio Clip 21
54      May 1, 2023, UC Op Audio Clip 22
55      May 1, 2023, UC Op Audio Clip 23
56      May 1, 2023, UC Op Audio Clip 24
57      May 1, 2023, UC Op Audio Clip 25
58      "Gehrig Bat” Given by Youngblood on May 1 2023- Photo 1
59      "Gehrig Bat” Given by Youngblood on May 1 2023 - Photo 2
60      May 2, 2023, UCE Youngblood Call 1
61      May 2, 2023, UCE Youngblood Call 2
62      May 2, 2023, UCE Youngblood Call 3
63      May 2, 2023, UCE Youngblood Call 4
        Reserved for sub-exhibit
64
        Reserved for sub-exhibit
65
        Reserved for sub-exhibit
66
        Reserved for sub-exhibit
67
        Reserved for sub-exhibit
68
69      Army Records Search
70      Reserved for sub-exhibit
71      Reserved for sub-exhibit
72      NARA Records Search

73      Reserved for sub-exhibit

74      Reserved for sub-exhibit

75      Flag appraisal email - Perardi Bridgman
76      Flag Invoice - April 2022 - Bridgman Youngblood
77      Flag Payments - Bridgman Record
78      Flag Payments - Knecht Wire Transfers
79      Reserved for sub-exhibit
80      Reserved for sub-exhibit
       Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 4 of 12




81        Reserved for sub-exhibit
82        Reserved for sub-exhibit
83        Reserved for sub-exhibit
84        Perardi - 7.08.2022 Payment Support Docs
85        Perardi - 7.21.2022 Payment Support Docs
86        Perardi - 7.27.2022 Payment Support Docs
87        Perardi - 8.10.2022 Payment Support Docs
88        Perardi - 8.16.2022 Payment Support Docs
89        Perardi - 9.14.2022 Payment Support Docs
90        Perardi - 9.21.2022 Payment Support Docs
91        Perardi - 10.07.2022 Payment Support Docs
92        Perardi - 10.15.2022 Payment Support Docs
93        Perardi - 11.01.2022 Payment Support Docs
94        Perardi - 11.02.2022 Payment Support Docs
95        Perardi - 11.03.2022 Payment Support Docs
96        Perardi - 11.08.2022 Payment Support Docs
97        Perardi - 11.14.2022 Payment Support Docs
98        Perardi - 11.21.2022 Payment Support Docs
99        Perardi - 12.27.2022 Payment Support Docs
100       Perardi - 1.04-.2023 Payment Support Docs
101       Perardi - Count 1 Wire Transfer
102       Perardi - Count 2 Wire Transfer
103       Perardi - Investment Return 1
104       Perardi - Investment Return 2
105       Perardi - Clock Emails
106       Perardi - Threatening Female Call
107       Perardi - 4.27.2023 - Gehrig Bat Call
107a      Perardi - 4.27.2023 - Gehrig Bat Call Clip 1
107b      Perardi - 4.27.2023 - Gehrig Bat Call Clip 2
108       Perardi - 4.27.2023 - Acid Call
       Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 5 of 12




108a      Perardi - 4.27.2023 - Acid Call Clip 1
108b      Perardi - 4.27.2023 - Acid Call Clip 2
108c      Perardi - 4.27.2023 - Acid Call Clip 3
109       Perardi - 4.29.2023 Flag Call
109a      Perardi - 4.29.2023 Flag Call Clip 1
110       Perardi - 4.29.2023 Kota Military Call
110a      Perardi - 4.29.2023 Kota Military Call Clip 1
111       Perardi - 4.29.2023 Kota - Perardi Call
111a      Perardi - 4.29.2023 Kota - Holloway Call Clip 1
112       Perardi - 5.01.2023 Holloway Call
112a      Perardi - 5.01.2023 Holloway Call Clip 1
112b      Perardi - 5.01.2023 Holloway Call Clip 2
113       Perardi - 4.29.2023 No Money Call
113a      Perardi - 4.29.2023 No Money Call Clip 1
114       Perardi - 1.17.2023 Dad Call
115       Steiner Ranch Truth (@TruthRanch) - Twitter
116       Perardi Checks Account 7818
117       Perardi Statements Account 6673
118       Perardi Statements Account 7818
119       Perardi Wire Transfer Confirmation
120       Lane Holloway - Bank Statements
121       Lane Holloway - 2019 - 30k Loan Docs
122       Lane Holloway - 2020 - 18k Loan Docs
123       Lane Holloway Family Name Change Order
124       Reserved for sub-exhibit
125       Derogatory Flyers
126       Lane Holloway - Goodbye Message to James Holloway
127       Lane Holloway - Florida Hotel Records - Oct 2022 to July 2023
128       Lane Holloway - Florida Hotel Picture 1
129       Lane Holloway - Florida Hotel Picture 2
      Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 6 of 12




130      Lane Holloway - Florida Hotel Picture 3
131      Lane Holloway - Florida Hotel Picture 4
132      Lane Holloway - Florida Hotel Picture 5
133      Lane Holloway - Florida Hotel Picture 6
134      Lane Holloway - Florida Hotel Picture 7
135      Lane Holloway - Florida Hotel Picture 8
136      Lane Holloway - Florida Hotel Picture 9
137      Lane Holloway - Florida Hotel Picture 10
138      Lane Holloway - Wire Receipts
139      Lane Holloway Notes - Full
140      Lane Holloway Notes - Harassing Call Script
141      April 2023 Yelp Review
142      Lane Holloway Notes - Cedar Park Toyota
143      Lane Holloway - Cedar Park Toyota Script
144      February 2023 Yelp Review
145      Lane Holloway - July 10, 2023, Wire Transfer Receipt
146      Lane Holloway - Austin House Photo 1
147      Lane Holloway - Austin House Photo 2
148      Lane Holloway - Austin House Photo 3
149      Lane Holloway - Austin House Photo 4
150      Lane Holloway - Austin House Photo 5
151      Lane Holloway - Austin House Photo 6
152      Lane Holloway - Austin House Photo 7
153      Lane Holloway - Austin House Photo 8
154      Lane Holloway - Austin House Photo 9
155      Lane Holloway - Austin House Photo 10
156      Lane Holloway - Austin House Photo 11
157      Lane Holloway - Austin House Photo 12
158      Lane Holloway - Austin House Photo 13
159      Lane Holloway - Post Florida Picture 1
      Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 7 of 12




160      Lane Holloway - Post Florida Picture 2
161      Lane Holloway - Notebook Page - Numbers to Block
162      Lane Holloway - Notebook Page - Money Requested
163      Lane Holloway - Script About Youngblood for FBI
164      Reserved for sub-exhibit
165      Reserved for sub-exhibit
166      York - Photo of Coin
167      York - Photo of dog tags
168      York - Photo of Rolex
169      York - Photos from Kota
170      York - Photo of York Investment Checks
171      York - Photo of Collateral
172      Reserved for sub-exhibit
173      Reserved for sub-exhibit
174      Reserved for sub-exhibit
175      Reserved for sub-exhibit
176      Reserved for sub-exhibit
177      J. Holloway - House Transfer Documents
178      J. Holloway - Wells Fargo Checks
179      J. Holloway - Wells Fargo Statements
180      J. Holloway - Initial Payments to Kota 2018
181      J. Holloway - Payments to Kota April 2020
182      J. Holloway - Wells Fargo Selected Statement
183      Reserved for sub-exhibit
184      Reserved for sub-exhibit
185      Reserved for sub-exhibit
186      Reserved for sub-exhibit
187      Reserved for sub-exhibit
188      G. Snider - Snider Financial Summary
189      G. Snider - Putin Book
      Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 8 of 12




190      G. Snider - Photo of Navalny Cross
191      G. Snider - Wells Fargo Statement 12.31.2020
192      G. Snider - Snider Security Camera - Clip 1
193      G. Snider - Snider Security Camera - Clip 2
194      G. Snider - Snider Security Camera - Clip 3
195      G. Snider - Snider Security Camera - Clip 4
196      G. Snider - Snider Security Camera - Clip 5
197      G. Snider - Fidelity Statement December 2020
198      G. Snider - Checks to Holloway
199      G. Snider - Fidelity Statement March 2021
200      G. Snider - Fidelity Statement April 2021
201      G. Snider - Wells Fargo Statement 04.30.2021
202      G. Snider - Fidelity Statement September 2021
203      G. Snider - Bank Withdrawals
204      G. Snider - Wells Fargo Statement 9.30.2021
205      G. Snider - Wells Fargo Statement 10.31.2021
206      G. Snider - Wells Fargo Statement 1.31.2022
207      G. Snider - Wells Fargo Statement 2.28.2022
208      G. Snider - Wells Fargo Statement 3.31.2022
209      G. Snider - Checks to J. Holloway
210      G. Snider - Fidelity Statement October 2021
211      G. Snider - Fidelity Statement December 2021
212      G. Snider - Fidelity Statement January 2022
213      G. Snider - Fidelity Statement February 2022
214      G. Snider - Fidelity Statement March 2022
215      G. Snider - Fidelity Statement August 2023
216      G. Snider - Payments to Snider
217      G. Snider - House Sale Docs
218      G. Snider-Wire Transfer Confirmation
219      Reserved for sub-exhibit
      Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 9 of 12




220      Reserved for sub-exhibit
221      Reserved for sub-exhibit
222      Reserved for sub-exhibit
223      Reserved for sub-exhibit
224      Reserved for sub-exhibit
225      Reserved for sub-exhibit
226      Jason Rzepniewski Valuation Estimate Report
227      Rzepniewski Photos
228      Reserved for sub-exhibit
229      Aria Casino Report
230      Reserved for sub-exhibit
231      Reserved for sub-exhibit
232      Reserved for sub-exhibit
233      Reserved for sub-exhibit
234      Reserved for sub-exhibit
235      Reserved for sub-exhibit
236      Reserved for sub-exhibit
237      Resorts World Gambling Statement 2021
238      Resorts World Gambling Statement 2022
239      Resorts World Gambling Statement 2023
240      Reserved for sub-exhibit
241      Reserved for sub-exhibit
242      Reserved for sub-exhibit
243      Hanfu Lee - Note from Youngblood - I Will Not Let You Down
244      Hanfu Lee - Thank You Note from Even and Kota, Jr.
245      Hanfu Lee - Money Paid to Youngblood from 2010 to 2017
246      Hanfu Lee - Youngblood IOUs and notes
247      Hanfu Lee - Money Paid to Youngblood in 2023
248      Hanfu Lee - July 3, 2023, Voicemail from Marvin Knecht
249      Hanfu Lee - Bank of America Statement July 2023
      Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 10 of 12




250      Hanfu Lee - Bank of America Wire Transfers
251      Youngblood July 2023 Navy Federal Statement and Wires
252      Hanfu Lee - Voicemail from Youngblood
253       Reserved for sub-exhibit
254       Reserved for sub-exhibit
255       Reserved for sub-exhibit
256       Reserved for sub-exhibit
257       Reserved for sub-exhibit
258      K. Sloma - Financial Analysis Summary
259       Reserved for sub-exhibit
260       Reserved for sub-exhibit
261       Reserved for sub-exhibit
262       Reserved for sub-exhibit
263      Gehrig Bat Photo Closeup 1
264      Gehrig Bat Photo Closeup 2
265      Photo of Kota's Car
266      Photo of Kota's House (Outside View)
267      Photo of Christmas Tree inside hall
268      Photo 1 of Living Room
269      Photo 2 of Living Room
270      Photo of Kitchen
271      Photo 1 of Laundry Room
272      Photo 2 of Laundry Room
273      Photo 3 of Laundry Room
274      Photo 1 of Spare Room
275      Photo 2 of Spare Room
276      Photo 1 of Attic
277      Photo 2 of Attic
278      Photo 3 of Attic
279      Photo of Putin Book
      Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 11 of 12




280      Photo of Gun 1
281      Photo of Gun 2
282      Photo of Gun 3
283      Photo of Gun 4
284      Photo of Credit Cards
285      Photo of Family Room
286      Photo of J. Holloway House (Outside View)
287      Photo of Entry Way
288      Photo of Garage
289      Photo of Work Room
290      Photo of Closet
291      Photo of Letter
292      Photo of Guns
293      Photo of Notes
294      Photo of Will
295      Southwest Airlines Records
296      Vegas Flights
297      Aria Casino Video Clip 1
298      Aria Casino Video Clip 2
299      Aria Casino Video Clip 3
300      Aria Casino Video Clip 4
301      Aria Casino Video Clip 5


                                       Respectfully submitted,

                                       Jaime Esparza
                                       United States Attorney

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         Case 1:23-cr-00135-RP Document 86 Filed 04/15/24 Page 12 of 12




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of April 2024, a true and correct copy of the

foregoing instrument was electronically filed with the Clerk of the Court using the CM/ECF

System which will transmit notification of such filing to the following CM/ECF participants:


Charlotte Anne Herring
Federal Public Defender
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                                                By:      /s/ Daniel D. Guess
                                                      Daniel D. Guess
                                                      Assistant United States Attorney
